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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 BRIAN RUSSELL,
                                                                                           ORDER
                              Plaintiff,                                             24 CV 6319 (LDH)(LB)
            -against-

 CITY OF NEW YORK,

                            Defendant.
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 BLOOM, United States Magistrate Judge:

            The Court held an initial conference in pro se 1 plaintiff’s civil rights action on January

 16, 2025. Plaintiff appeared pro se. Joseph Zangrilli appeared on behalf of City of New York

 and Jack McLaughlin appeared under the supervision of Joseph Zangrilli.

            Immediately before the conference, plaintiff executed the § 160.50 releases defendant

 requested. Defendant shall respond to the Court’s Valentin Order by February 27, 2025. The

 Court shall hold a status conference in this matter on February 27, 2025 at 10:00 a.m. in

 Courtroom 11A South of the United States Courthouse, 225 Cadman Plaza East, Brooklyn, New

 York. The parties are encouraged to discuss settlement.

 SO ORDERED.

                                                                                          /S/
                                                                            LOIS BLOOM
                                                                            United States Magistrate Judge

 Dated: January 16, 2025
        Brooklyn, New York




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     The Clerk of Court is respectfully directed to mail pro se plaintiff a courtesy copy of the Pro Se Handbook.


  Plaintiff is advised that he may contact the City Bar Justice Center Federal Pro Se Legal Assistance Project at 212-
 382-4729 for limited legal assistance. He may also contact the Court’s Pro Se Office for information regarding
 Court procedures by calling 718-613-2665.

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